         Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 1 of 46



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

               - v. -
                                                       S1 18 Cr. 820 (JSR)
 CESAR ALTIERI SAYOC,
   a/k/a “Cesar Randazzo,”
   a/k/a “Cesar Altieri,”
   a/k/a “Cesar Altieri Randazzo,”

                                    Defendant.




                THE GOVERNMENT’S SENTENCING MEMORANDUM




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                                                 for the United States of America



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             Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 2 of 46



                                                         Table of Contents

BACKGROUND ............................................................................................................................ 4
   I.     The Defendant’s Terrorist Attack ....................................................................................... 4
          A.       The Defendant Threatened Violence Against the Victims for Years Since
                   At Least 2016 ............................................................................................................. 4
                 1.        The Defendant Used Social Media to Incite Violence Against the Victims
                           and Convey Direct Threats Beginning in April 2016 ....................................... 5
                 2.        The Defendant’s Cellphone Reflects Violent Notes and Messages Dating
                           Back to September 2016 ................................................................................... 6
                 3.        The Defendant’s Email Accounts Reflect Research Regarding Explosives
                           Beginning in October 2017 ............................................................................... 6
                 4.        The Defendant’s Laptop Reflects Attack Planning Beginning in At Least
                           December 2017 ................................................................................................. 8
          B.       The Defendant Mailed 16 IEDs to 13 Victims Across the Country ........................ 10
          C.       The Arrest of the Defendant and Seizure of His Van .............................................. 19
          D.       The Forensic Analysis of the Defendant’s IEDs...................................................... 20
   II.    The Charges and the Defendant’s Plea Agreement .......................................................... 22
   III. The Defendant’s Guilty Plea Allocution and Statements to the Court ............................. 23
          A.       The Defendant’s March 21, 2019 Guilty Plea Allocution ....................................... 23
          B.       The Defendant’s Post-Plea Letters to the Court and Subsequent Proceedings ........ 23
          C.       The Defendant’s April 15, 2019 Statements to the Court Affirming His Guilty Plea
                   and Plea Allocution .................................................................................................. 24
   IV. The Probation Office Calculates a Guidelines Sentence of Life Imprisonment ............... 25
   V.     The Probation Office Recommends a Sentence of Life Imprisonment ............................ 26
DISCUSSION ............................................................................................................................... 26
   I.     A Life Sentence Is Warranted Based on the Nature and Seriousness of the
          Defendant’s Terrorist Attack ............................................................................................ 27
          A.       The Defendant Planned and Executed a Terrorist Attack with the Intent to
                   Harm Others ............................................................................................................. 27
          B.       The Defendant’s Attack Crippled Parts of Several Cities and Required a
                   Massive Response .................................................................................................... 32
   II.    A Sentence of Life Imprisonment Is Sufficient but Not Greater than Necessary to Protect
          the Public from Further Terrorism Crimes of the Defendant Given the Defendant’s
          Absence of Remorse, Lack of Candor with the Court, and Failure to Fully Accept
          Responsibility for His Crimes ........................................................................................... 34

                                                                       i
             Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 3 of 46



          A.      The Defendant’s Lengthy Criminal History Gives Rise to a Significant Risk
                  of Recidivism ........................................................................................................... 34
          B.      The Defendant Has Not Fully Accepted Responsibility or Demonstrated Remorse
                  for His Crimes .......................................................................................................... 35
          C.      The Defendant’s Expert Report Does Not Mitigate His Conduct ........................... 37
   III. A Life Sentence Will Avoid Creating Unwarranted Sentencing Disparities .................... 39
          A.      United States v. Tomkins, No. 07 Cr. 227 (N.D. Ill) ................................................ 39
          B.      The Anthrax Cases ................................................................................................... 41
   IV. A Life Sentence Is Necessary to Afford Adequate Deterrence and to Promote Respect
       for the Law ........................................................................................................................ 42
CONCLUSION ............................................................................................................................. 43




                                                                     ii
         Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 4 of 46



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                                    Defendant.


       The Government respectfully submits this memorandum in connection with the sentencing

of Cesar Altieri Sayoc (“Sayoc” or the “defendant”), scheduled for August 5, 2019. For the reasons

set forth below, a Guidelines sentence of life imprisonment is necessary and appropriate.

       Over the course of approximately two weeks in late-October 2018, the defendant mailed

16 improvised explosive devices (“IEDs”) to 13 victims around the country (the “Victims”). The

defendant’s terrorist attack was the culmination of years of violent and hate-filled threats, months

of planning, and days of carefully assembling the explosive mailings while proudly monitoring

media coverage of the widespread panic he induced. It is clear that the defendant perpetrated this

attack intending to injure and silence public servants and private citizens based on their civic

activities, and to intimidate like-minded people from entering the public arena and participating in

discourse that is critical to the proper functioning of this country.

       The defendant manifested his violent intentions through the preparation of the mailings

and the construction of the IEDs. In addition to addresses, he found photographs of each of the

Victims and placed them carefully on each IED with a red “X” over their faces. He also added

black flags similar in appearance to banners used by ISIS and other foreign terrorist organizations.

In each of the 16 PVC pipes, he packed not only explosive powder from fireworks, but also “pool
         Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 5 of 46



shock” and shards of glass. He used the pool chemicals, which typically contain chlorine, to

increase the chances of burning the skin of the Victims. He added the glass shards hoping to pierce

the Victims’ flesh and seeking to maximize potential injuries and other damage in connection with

an explosion. Sixteen separate times, the defendant mailed a package containing an explosive with

these components while intending to injure people, to scare and intimidate others, and to damage

property. He mailed these IED-laden packages to government facilities, private offices, and—in

a telling sign of his depravity—an assisted living facility that former Vice President Joseph Biden

had happened to visit just once.

       While there is no dispute that the defendant’s IEDs would not have functioned as designed,

that fact has little legal significance or practical import here. As a legal matter, the definition of

“destructive device,” as relevant to 16 of the defendant’s offenses of conviction, requires only that

the bomb be capable of exploding and intended to be used as a weapon. Those elements are met

here. As a factual matter, the defendant’s IEDs were dangerous, capable of causing extensive

harm, and responsible for shutting down parts of several major metropolitan areas, including train

stations, schools, and postal facilities. Notwithstanding his design flaws, the defendant has

admitted that he understood that each IED was capable of exploding, which would have resulted

in the discharge of glass shards and toxic chemicals towards the holder of the package and those

in the vicinity, and therefore presented a risk of harm to both people and property. Conduct of this

massive scale and scope, animated by these deadly intentions, warrants severe punishment.

       The defendant’s failure, at least thus far, to fully accept responsibility and express remorse

further supports the imposition of a life sentence. The defendant appears to regret facing potential

punishment, but not what he did and the harm that his attack caused. His factual allocution in


                                                  2
         Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 6 of 46



connection with his guilty plea was legally sufficient but strained at best. Following the plea, he

sought to recant sworn statements to the Court regarding his intent, clinging desperately in two

separate letters to the implausible claim that he intended to damage property but not injure people

with his explosives—because he evidently fears that harsh consequences are likely to follow from

such baldly violent intent.

       In a similarly desperate effort to avoid accountability, the defendant claimed that his IEDs

were a “hoax.” That is simply false. Deficient as the defendant may be as a bomb maker, hoaxes

do not involve real explosives, real shards of glass, and real toxic chemicals, as the defendant’s

IEDs did. The defendant also outright lied in his post-plea letters by asserting that he had not

reviewed his allocution prior to reading it and was tricked by his lawyers when answering

questions from the Court. That was also false, and the defendant’s lies further indicate that he is

willing to say anything he believes may help him avoid appropriate punishment. At an April 15,

2019 conference, the defendant wisely appeared to abandon at least some of these untenable

positions. After the conference, however, the Court docketed a third letter from the defendant in

which he used terminology of military conflict and war in a poorly conceived effort to justify his

actions, once again demonstrating that he executed his terrorist attack with violent intent to harm.

       Thus, in addition to the seriousness of the offense conduct, a life sentence is necessary to

protect the public from the defendant due to his lack of remorse and lengthy criminal history,

including a 2002 conviction for making bomb threats while invoking the September 11, 2001

terrorist attacks. Such a sentence is also appropriate in order to promote respect for the law and to

achieve general deterrence of others who may contemplate similar acts of domestic terrorism.




                                                 3
         Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 7 of 46



                                         BACKGROUND

I.     The Defendant’s Terrorist Attack

       The defendant spent more than a year contemplating acts of violence against the Victims,

and other politicians and celebrities, in order to silence them. He put his plan into action beginning

on or about October 17, 2018, when he commenced a widespread terror campaign that lasted

approximately two weeks. During that period, the defendant conducted his nationwide campaign

of terror by constructing and mailing 16 IEDs from South Florida to 13 Victim addressees in New

York, New Jersey, Washington, D.C., Delaware, Georgia, and California.                (July 8, 2019

Presentence Investigation Report (“PSR”) ¶¶ 73-74).         Each package included a pipe bomb

consisting of explosives packed inside a PVC pipe along with glass shards that would function as

shrapnel, at least one photograph of the Victim-addressee (sometimes with relatives) covered with

a red “X,” and a black flag similar in appearance to flags used by ISIS and other foreign terrorist

organizations. While the 13 Victims were the defendant’s most readily apparent targets, his attack

placed thousands of innocent people in harm’s way, including the Victims’ families and

employees, employees of the U.S. Postal Service (“USPS”) throughout the country, and law

enforcement personnel responsible for responding to and rendering safe the defendant’s IEDs.

       A.      The Defendant Threatened Violence Against the Victims for Years Since
               At Least 2016

       The defendant’s electronic devices, including his cellphone and his laptop, his social media

and email accounts, and his van were seized and searched following his arrest on October 26, 2018.

(See PSR ¶¶ 76-77). The defendant’s electronic devices and accounts were filled with violent and

hateful messages regarding the Victims and other public officials, as well as online research



                                                  4
         Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 8 of 46



regarding explosives and the Victims. These materials establish the defendant’s deep-seated and

longstanding hatred and proclivity toward violence, his intent to harm and injure the Victims, and

his long-term planning of the attack. (See id.).

               1.      The Defendant Used Social Media to Incite Violence Against the
                       Victims and Convey Direct Threats Beginning in April 2016

       The defendant used social media to post innumerable violent and hateful messages about

the Victims and other potential targets dating back to 2016. (See Ex. B at 3-4). In April 2016, he

wrote that former President Barack Obama’s “head need[ed] to be chopped off” and wished

“death” to George Soros and former Attorney General Eric Holder. (Id. at 3). On successive days

in June 2016, he wrote that former Secretary of State Hillary Clinton “has to die” and “must be

killed.” (Id.). Later that summer, the defendant wrote that it was “time to seek to destroy CNN.”

(Id.). In April 2017, the defendant wished “Death” to “all Clintons.” (Id.). In November 2017,

he posted, “Your days are number[ed] Steyer[].” (Id.).

       The defendant also used social media to convey threats directly and personally. In April

2018, the defendant sent a threatening message from a Facebook account in his name to the

Facebook account of then-Congressman Beto O’Rourke, which warned that O’Rourke should

“hug your loved ones everytime [sic] you leave your home” and threatened that Sayoc would “see

you soon.” Sayoc also sent O’Rourke’s Facebook account several pictures of O’Rourke, some of

which included his wife and children, and headlines from press coverage about missing persons in

South Florida, such as “Body Found in Everglades is Missing 8-Year-Old.” Similarly, in July

2018, the defendant sent numerous Facebook messages from a Facebook account in his name to

an employee of CNN, also advising the employee to “Hug your loved ones real close everytime



                                                   5
          Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 9 of 46



you leave your home.” The defendant’s threatening messages included a photograph of the CNN

building on fire.

                2.       The Defendant’s Cellphone Reflects Violent Notes and Messages
                         Dating Back to September 2016

        The defendant’s cellphone contained numerous messages, dating back to 2016,

contemplating violence against the Victims and others. (See PSR ¶ 77; Ex. B at 2). The defendant

sent many of these messages as notes to himself to “kill” people. (Ex. B at 2). In September 2016,

he wrote to an associate that “[h]opefully” Hillary Clinton would “die.” (Id.). In April 2018, he

wrote to himself, “Death to all liberals.” (Id.). The defendant’s cellphone also contained

photographs of some of the Victims and images of what purport to be their homes.

                3.       The Defendant’s Email Accounts Reflect Research Regarding
                         Explosives Beginning in October 2017

        The defendant created dozens of email accounts as he contemplated violence against the

Victims and others, such as “killallliberalleftdemocrats@aol.com,” which he created on January

13, 2018, and “maximwatersdeathsoon@aol.com,” which he created on January 28, 2018. The

contents of the defendant’s email accounts reveal his research regarding explosive devices,

additional death threats to the Victims and others, and efforts to compile the Victims’ addresses

for use in his attack.

        On October 30, 2017, nearly a year before the attack, the defendant used the email account

cesaraltieri2@gmail.com to send himself a video of a man holding an object in one hand and a




                                                6
        Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 10 of 46



flame in another, which the man referred to as a “nice cocktail”1—in an apparent reference to an

explosive Molotov cocktail:




       On March 18, 2018, over seven months before the attack, the defendant searched for the

phrases, “How do they make letter bomb” and “What a letter bomb,” while logged into the email

account cesarnorthcarolina@gmail.com. (See PSR ¶ 77; Ex. B at 5-6). The search results included




1
  While the speaker’s identity is unclear, the white paint on the vehicle’s door resembles that of
the defendant’s van.

                                                7
        Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 11 of 46



a series of YouTube videos the defendant accessed, including one that is self-described as a

“demonstration of a letter bomb” and depicts the simulated receipt and explosion of such a bomb:




              4.      The Defendant’s Laptop Reflects Attack Planning Beginning in
                      At Least December 2017

       Consistent with his social media accounts and cellphone, the defendant used his laptop to

conduct numerous Internet searches related to murdering the Victims. On March 9, 2018, he

searched for the phrase “kill george soros.” (Ex. B at 4). In March and April 2018, he searched

for the terms, “How to kill all democrats” and “Kill all socialist.” (Id.). On May 1, 2018, he

searched for a “list of house democrats.” (Id.). In June 2018, he searched for the phrase, “Kill

Maxine waters.” (Id.).

       The defendant began researching the Victims and other public officials beginning in at

least December 2017. (See PSR ¶ 77; Ex. B at 4). He conducted online searches for the Victims’


                                               8
        Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 12 of 46



addresses and the addresses of other public officials. For example, on December 23, 2017, he

searched for the addresses of Speaker of the House Nancy Pelosi, Senator Chuck Schumer, and

Congresswoman Maxine Waters. (See PSR ¶ 77; Ex. B at 4-5). Over the ensuing months, the

defendant repeatedly searched for the “home address” or “address” of several of his Victims,

including Waters, Clinton, former Director of the Central Intelligence Agency John Brennan,

Senator Cory Booker, and Robert De Niro. (See Ex. B at 4-5). His address searches increased

beginning in late September 2018, as his attack planning increased. On September 18, 2018, he

searched for, among other things, “cnn building” and strings of search terms that included relatives

of the Victims. (Id.). Beginning on September 26, and continuing during the attack, the defendant

searched for the addresses of Schumer, Barack Obama, Michelle Obama, former Senator Jeff

Flake, O’Rourke, Alec Baldwin, and Tom Steyer. (See id.).

       The defendant also used his laptop to compile information that he used to execute his attack

and to prepare the IED mailings. In July 2018, the defendant created files that listed the addresses

to which he mailed the IEDs in a format that he used for mailing labels when he printed the

documents. The defendant accessed these files as late as October 2018. In September 2018, the

defendant created separate files that included his return-address label format.




                                                 9
        Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 13 of 46




       B.     The Defendant Mailed 16 IEDs to 13 Victims Across the Country

       In October 2018, the defendant constructed and mailed 16 IEDs from South Florida to 13

Victims at various personal and professional addresses in New York, New Jersey, Washington,

D.C., Delaware, Georgia, and California.       (PSR ¶¶ 73-74).     The defendant listed U.S.

Representative Debbie Wasserman Schultz as his mailings’ return address, entangling yet another

victim in his offense conduct. The defendant mailed his first IED to Soros through the USPS on

or about October 17, 2018, and continued mailing the remaining 15 IEDs to 12 more victims over

the next nine days, through on or about October 26, the day of his arrest. (See PSR ¶¶ 73-74).

Reveling in widespread media coverage of the fear and panic his bombs were causing, after the

Soros IED was discovered, the defendant mailed six additional bombs.         Law enforcement




                                              10
        Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 14 of 46



recovered and rendered safe the defendant’s IEDs between October 22 and November 1, 2018, in

connection with the following chronology:

       The Soros IED. On or about October 17, 2018, Sayoc mailed an IED to Soros’s personal

residence in Katonah, New York (the “Soros IED”). USPS personnel in South Florida scanned

the Soros IED at approximately 10:42 p.m. on October 17, and delivered it to Soros’s residence

on October 22, 2018.




(See PSR ¶ 73; see also Dkt. No. 37 at 34-40).

       The Clinton IED. On or about October 18, 2018, Sayoc mailed an IED to Hillary Clinton

at the Clintons’ personal residence in Chappaqua, New York (the “Clinton IED”). USPS personnel

scanned the Clinton IED in South Florida at approximately 5:21 p.m. on October 18, and delivered

it to the Clintons’ residence on October 23, 2018.




                                                 11
        Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 15 of 46



(See PSR ¶ 74(a); see also Dkt. No. 37 at 60-65).

       The Brennan IED. On or about October 20, 2018, Sayoc mailed an IED to Brennan at the

Time Warner Center in Manhattan (the “Brennan IED”). USPS personnel scanned the Brennan

IED in South Florida at approximately 9:23 p.m. on October 20, and delivered it to the Time

Warner Center on October 24, 2018.




(See PSR ¶ 74(c); see also Dkt. No. 37 at 50-55)).

       The Obama IED. On or about October 18, 2018, Sayoc mailed an IED to Obama at a P.O.

Box for the Obamas in Washington, D.C. (the “Obama IED”). USPS personnel scanned the

Obama IED in South Florida at approximately 5:29 p.m. on October 18, and delivered it to the

P.O. Box on October 24, 2018.




                                               12
        Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 16 of 46



(See PSR ¶ 74(b); see also Dkt. No. 37 at 30-34).

       The Waters IEDs. On or about October 18, 2018, Sayoc mailed two IEDs to Waters

(“Waters IED-1” and “Waters IED-2”). Sayoc mailed Waters IED-1 to Waters’s congressional

office in Washington, D.C. He mailed Waters IED-2 to her congressional office in Los Angeles,

California. USPS personnel scanned Waters IED-1 in South Florida at approximately 1:46 a.m.

on October 19, and Waters IED-2 at approximately 3:37 a.m. on the same morning. The IEDs

were delivered to Waters’s addresses in Washington, D.C., and Los Angeles on October 24, 2018.




(See PSR ¶ 74(e); see also Dkt. No. 37 at 24-29, 74-78).

       The Holder IED. On or about October 19, 2018, Sayoc mailed an IED to Holder’s business

address (the “Holder IED”). USPS personnel scanned the Holder IED in South Florida at

approximately 1:53 a.m. on October 20. Law enforcement recovered the Holder IED from the

USPS mail stream on October 24, 2018.

                                               13
        Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 17 of 46




(See PSR ¶ 74(d); see also Dkt. No. 37 at 65-69).

       The Biden IEDs. On or about October 19, 2018, Sayoc mailed an IED to an assisted living

facility in Wilmington, Delaware, which Biden had once visited (“Biden IED-1”).         USPS

personnel scanned Biden IED-1 in South Florida at approximately 2:31 a.m. on October 20, and

law enforcement recovered it from the USPS mail stream on October 25. On or about October 22,

2018, Sayoc mailed an IED to Biden’s personal address in Wilmington, Delaware (“Biden IED-

2”). USPS personnel scanned Biden IED-2 in South Florida at approximately 2:14 a.m. on October

23, and law enforcement also recovered it from the USPS mail stream on October 25, 2018.




                                               14
        Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 18 of 46




(See PSR ¶ 74(f); see also Dkt. No. 37 at 40-45, 45-50).

       The De Niro IED. On or about October 18, 2018, Sayoc mailed an IED to De Niro’s

business address in Manhattan (the “De Niro IED”). USPS personnel scanned the De Niro IED in

South Florida at approximately 1:46 a.m. on October 19, and law enforcement recovered it from

De Niro’s address on October 25, 2018.




(See PSR ¶ 74(g); see also Dkt. No. 37 at 55-60).

       The Booker IED. On or about October 24, 2018, Sayoc mailed an IED to Booker’s

congressional office in Camden, New Jersey (the “Booker IED”). USPS personnel scanned the

Booker IED in South Florida at approximately 7:36 a.m. on October 25, and law enforcement

recovered it from the USPS mail stream on October 26, 2018.



                                               15
        Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 19 of 46




(See PSR ¶ 74(h); see also Dkt. No. 37 at 69-73).

       The Clapper IED. On or about October 23, 2018, Sayoc mailed an IED to former Director

of National Intelligence James Clapper at the Time Warner Center in Manhattan (the “Clapper

IED”). USPS personnel scanned the Clapper IED in South Florida at approximately 5:22 p.m. on

October 23, and law enforcement recovered it from the USPS mail stream on October 26, 2018.




(See PSR ¶ 74(i); see also Dkt. No. 37 at 79-84).

       The Harris IED. On or about October 24, 2018, Sayoc mailed an IED to the congressional

office of Senator Kamala Harris in Sacramento, California (the “Harris IED”). USPS personnel

scanned the Harris IED in South Florida at approximately 2:39 p.m. on October 25, and law

enforcement recovered it from the USPS mail stream on October 26, 2018.



                                               16
        Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 20 of 46




(See PSR ¶ 74(j); see also Dkt. No. 37 at 84-88).

       The Steyer IEDs. On or before October 26, 2018—the day Sayoc was arrested—he mailed

IEDs to two of Steyer’s business addresses in San Francisco, California (“Steyer IED-1” and

“Steyer IED-2”). USPS personnel scanned Steyer IED-1 in South Florida at approximately 10:21

p.m. on October 26, and law enforcement recovered it from the USPS mail stream that night.

USPS has not been able to identify the point at which Steyer IED-2 entered the mail stream, but it

was recovered from the mail stream on November 1, 2018.




                                               17
        Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 21 of 46



(See PSR ¶ 74(k); see also Dkt. No. 37 at 90-95, 101-106).

       The CNN IED. On or before October 26, 2018, Sayoc mailed an IED to CNN at its

headquarters in Atlanta, Georgia (the “CNN IED”). The CNN IED was delivered on October 29

and recovered by law enforcement after it was discovered.




(See PSR ¶ 74(l); see also Dkt. No. 37 at 95-100).

       Video surveillance outside of certain USPS facilities and post office boxes captured the

defendant and his white Dodge Ram van driving past a USPS post office box located in Fort

Lauderdale, Florida on October 17, 2018, and mailing some of the IEDs from that location early

in the morning on October 18 and 24, 2018.




                                               18
        Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 22 of 46




       C.     The Arrest of the Defendant and Seizure of His Van

       On October 26, 2018, law enforcement arrested the defendant in Florida and seized his

van, cellphone, and laptop. The windows of the defendant’s van were covered with stickers

depicting written text and images, including some that further reflect his intent to target the

Victims. (PSR ¶ 76). Other stickers contained messages such as “KILL YOUR ENEMY” and


                                              19
        Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 23 of 46



“No Mercy Not An Option.” Similar to his IEDs, the van bore stickers reflecting pictures of some

of the Victims, including Obama and Clinton, targeted with cross hairs or red “Xs.”




       Inside the defendant’s van, the Federal Bureau of Investigation (“FBI”) seized

commercially produced fireworks that contained low explosive mixtures consistent with some of

the chemicals in the IEDs, as well as solder consistent with solder the defendant used to build the

IEDs. (See PSR ¶ 76; Dkt. No. 37 at 88-90).

       D.      The Forensic Analysis of the Defendant’s IEDs

       Each of the defendant’s 16 IEDs was recovered, rendered safe, and transported to the FBI’s

Explosives Unit in Quantico, Virginia. Forensic analyses of the IEDs and associated material left

no doubt that the defendant was the perpetrator of the attack. Specifically, the FBI identified

Sayoc’s DNA on 12 of the IEDs, and his fingerprints on two of the IED packages.

       The FBI Explosives Unit examined the IEDs and produced a 107-page report regarding its

analysis (the “FBI Explosives Report”). (See Dkt. No. 37). The FBI Explosives Report includes

the following findings and conclusions, among others:




                                                20
           Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 24 of 46



            Each IED included the components of a destructive device, including (i) a
             “concealment container” in the form of a mailing envelope, (ii) a “confinement
             container” in the form of a PVC pipe with two end caps, (iii) a “low explosive main
             charge” packed inside the PCV pipe, and (iv) an “electric fuzing system.” (See id. at
             24).

            Chemical analysis of the explosives material in the IEDs revealed mixtures of oxidizers
             and fuels typically used in “pyrotechnic formulations,” e.g., commercially produced
             fireworks as seized from the defendant’s van, that “reacted energetically,” i.e., burned,
             when exposed to flame. (See Dkt. No. 34 at 6-7).

            Each of the defendant’s 16 IEDs contained glass fragments. “Hardened objects, such
             as glass, are referred to as fragmentation. Fragmentation is a form of IED enhancement
             that is added to an IED to impart further physical damage to the surrounding area,
             and/or to injure or kill personnel in the vicinity of the explosion.” (Dkt. No. 37 at 24).

            “Properly assembled and initiated, the resulting explosion from one of the IEDs could
             cause property damage and/or personal injury.” (Id.).

       The FBI Explosives Report acknowledged that the defendant’s IEDs “would not have

functioned as a result of their design,” but concluded that the IEDs were nevertheless capable of

exploding and injuring people because of the volatile qualities of the chemicals that the defendant

packed into each pipe bomb. (See id.). Given the instability of the defendant’s IEDs’ mixture, the

FBI explosives expert could not quantify the likelihood of explosion or the extent of any

detonation. The defendant’s placement of a combination of different chemicals and glass shards

within each IED, however, could have created enough friction to ignite the explosive material

within one or more of the IEDs. Additional heat and friction capable of igniting the explosives

could have resulted from the transportation, handling, and disassembly of the IEDs. In such an

event, the ignition of the explosives would have resulted in a rapid release of gasses and an

explosion of the closed-container that would propel pieces of the PVC pipes outward. The glass




                                                  21
         Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 25 of 46



shards would also “impart further physical damage to the surrounding area, and/or injure/kill

personnel in the vicinity.” (See id.).

II.    The Charges and the Defendant’s Plea Agreement

       On March 21, 2019, the defendant waived indictment and pled guilty, pursuant to a plea

agreement (the “Plea Agreement”), to Superseding Information S1 18 Cr. 820 (JSR) (the

“Information”). The Information charged the defendant in 65 counts related to the 16 IEDs he

constructed and mailed to victims across the country. (Dkt. No. 15). The defendant was charged

with (i) 16 counts of Use of a Weapon of Mass Destruction, in violation of 18 U.S.C.

§§ 2332a(a)(2) and 2 (Counts 1 to 16); (ii) 16 counts of Interstate Transportation and Receipt of

Explosives, in violation of 18 U.S.C. §§ 844(d) and 2 (Counts 17 to 32); (iii) 16 counts of

Threatening Interstate Communications, in violation of 18 U.S.C. §§ 875(c) and 2 (Counts 33 to

48); (iv) 16 counts of Illegal Mailing of Explosives, in violation of 18 U.S.C. §§ 1716(j)(2) and 2

(Counts 49 to 64); and (v) one count of Using Explosives to Commit a Felony, “to wit, the

explosive powder packed inside the improvised explosive devices described in” Counts 1 through

64, in violation of 18 U.S.C. §§ 844(h) and 2 (Count 65). (Id.).

       Pursuant to the Plea Agreement, the defendant stipulated to a Guidelines calculation under

the U.S. Sentencing Guidelines (“U.S.S.G.” or the “Guidelines”) recommending a term of life

imprisonment, and acknowledged that Count 65 required a mandatory minimum term of 10 years’

imprisonment. (03/21/2019 Plea Tr. at 15).




                                                22
         Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 26 of 46



III.   The Defendant’s Guilty Plea Allocution and Statements to the Court

       A.      The Defendant’s March 21, 2019 Guilty Plea Allocution

       On March 21, 2019, the defendant pleaded guilty to all of the charges in the Information,

pursuant to the Plea Agreement, based on the following sworn factual allocution:

               In October 2018, I made devices that were designed to look like pipe bombs
               and sent them through the U.S. mail. I sent a total of 16 devices to people
               around the country. I mailed them from South Florida to George Soros,
               Hillary Clinton, John Brennan, Robert De Niro, James Clapper, Barack
               Obama, Maxine Waters, Eric Holder, Joe Biden, Cory Booker, Kamala
               Harris, Thomas Steyer, and CNN.

               I sent all of the 16 devices with the intent to threaten and intimidate people
               and with the intent to injure property.

               The devices consisted of a plastic pipe with a digital alarm clock and wires
               attached to it. Inside the plastic pipe was powder from fireworks, fertilizer,
               pool shock and some glass fragments. I also put pictures of the recipients
               with a red “X” over their faces inside the package.

               ...

               I was aware of the risk that [the devices] would explode.

(03/21/2019 Plea Tr. at 17, 20). The defendant stated that he intended the IEDs to be “viewed” as

“explosive devices” and that he was “aware of the risk” that they “would explode.” (Id. at 20).

The defendant also responded, “Yes,” when the Court asked if he knew “there was a risk that there

would be an injury to persons.” (Id. at 21-22).

       B.      The Defendant’s Post-Plea Letters to the Court and Subsequent Proceedings

       On or about March 23, 2019, the defendant sent a letter to the Court in which he claimed

that he misspoke during his guilty plea two days prior. (Dkt. No. 18). He asserted in the letter that

“under no circumstances [was] my intent to hurt or harm anyone,” and that “the intention was only



                                                  23
         Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 27 of 46



to intimidate [and] scare.” (Id. at 2-3). The defendant also described his bombs as “decoy devices”

and his terror attack as a “hoax.” (Id.)

       On or about April 1, 2019, the defendant sent another letter to the Court in which he made

further efforts to retract his sworn statements during his plea allocution. (Dkt. No. 19). He

asserted, contrary to the FBI’s expert analysis, and his own sworn allocution, that the IEDs “would

never explode” and that he was not aware of a risk of harm to others. (Id. at 3-4). The defendant

also wrote that the statement that he read to the Court on March 21, 2019, was given to him the

day of the plea and that he had “no time to read or review the paper.” (Id. at 5).

       C.      The Defendant’s April 15, 2019 Statements to the Court Affirming His Guilty
               Plea and Plea Allocution

       On April 15, 2019, the Court conducted a conference to address the defendant’s post-plea

letters. The defendant reaffirmed his guilt on all counts of the Information. (04/15/2019 Tr. at 9-

10). He stated that he stood by his plea allocution to the Court on March 21, 2019, and he

confirmed—contrary to the April 1, 2019 letter—that he had carefully reviewed his written plea

allocution with his attorneys prior to reading it during the guilty plea. (Id).

       The Court observed that the defendant’s post-plea letters asserted, “in effect, that he did

not intend or even perceive a likelihood that he would injure anyone, and that would seem to be at

variance with the elements of at least some of the counts to which he pled.” (Id. at 4). When the

Court focused on the element of Counts 49 through 64 that requires specific intent to “kill or injure

another, or injure the mails or property,” defense counsel sought to avoid the human injury prong

and to focus on potential damage to property. (Id. at 5). The Court inquired of defense counsel:




                                                  24
         Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 28 of 46



                [P]lease explain to me how he could have an intent to injure property, but
                not an intent to injure people? So the thing would explode, but by the grace
                of God, it would not injure any person who received it? . . . I am just asking
                how you can possibly, under the facts of this case, say that your client had
                an intent to injure property under that statute, but did not have, as he has
                now repeatedly denied in his letters, any intent to injure a person?

(Id. at 5-6). Counsel replied that “there is an argument” that the element is satisfied by “intent to

cause emotional injury or intimidation towards others.” (Id. at 6-7).

        The Court also asked the defendant about his intent in mailing the 16 IEDs. The defendant

initially indicated—implausibly—that he intended to injure “[j]ust the property.” (Id. at 8). The

defendant, however, then answered, “Yes,” when the Court noted that the IEDs included “some

explosive materials” and asked the defendant if he knew that the IEDs “could injure either property

or person” if they detonated. (Id.). The defendant also reiterated that he intended to “scare and

intimidate.” (Id. at 9).

IV.     The Probation Office Calculates a Guidelines Sentence of Life Imprisonment

        The Probation Office concluded, and the defendant agreed in the Plea Agreement, that the

Guidelines call for a sentence of life imprisonment with a mandatory minimum term of 10 years’

imprisonment. (PSR ¶ 68, at 50). For each of the 16 IEDs, the undisputed Guidelines calculation

includes enhancements based on intent to injure the United States, U.S.S.G. § 2M6.1(a)(1),

targeting current and former officials based on their status, id. § 3A1.2(a), and intent to promote

federal crimes of terrorism, id. § 3A1.4(a).          His Guidelines calculation is literally, and

appropriately, off the chart with an offense level of 59 capped at 43.     Although the defendant’s

criminal history category is VI based on the terrorism enhancement, he also has four criminal

history points as the result of nine prior convictions. (PSR ¶¶ 220-29). One of these convictions



                                                 25
         Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 29 of 46



stemmed from the defendant’s threats to throw or discharge a bomb at Florida Power & Light

(“FPL”) in August 2002. (Id. ¶ 222). There, the defendant contacted FPL and threatened to “blow

up FPL” in a manner that would be “worse than September 11th.” (Id.). Sayoc told an FPL

employee that if FPL cut his utility services, “something would happen.” (Id.).

V.     The Probation Office Recommends a Sentence of Life Imprisonment

       The Probation Office recommends a sentence of life imprisonment. (PSR at 50). This

recommendation is based on the seriousness of the offense; the defendant’s long-term planning of

the attack, which included online research regarding bomb-making and the Victims; the

defendant’s targeting of public officials; the fear the defendant caused to the Victims and to the

public; the need for general and specific deterrence; and the defendant’s criminal history, which

dates back to 1991 and includes the above-described conviction for threatening to bomb FPL in

2002. (Id. at 52-53).

                                          DISCUSSION

       The statutory sentencing factors counsel in favor of a Guidelines sentence of life

imprisonment. The defendant’s offenses are exceedingly serious. He poses significant risk of

recidivism based on his prior convictions and his lengthy history of threats against public officials.

And a Guidelines sentence is critical and necessary to achieve general deterrence of acts of

terrorism targeting public servants and participants in civic discourse. Put simply, the defendant

intended to silence, through harm and fear, those with whom he disagreed, and now he must be

incapacitated to protect the public and promote respect for the law.




                                                 26
        Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 30 of 46



I.     A Life Sentence Is Warranted Based on the Nature and Seriousness of the
       Defendant’s Terrorist Attack

       The indisputably serious nature of the defendant’s crimes warrant a life sentence. See 18

U.S.C § 3553(a)(1), (a)(2)(A).

       The defendant engaged in a premeditated and prolonged course of conduct that culminated

in a two-week terrorist attack involving 16 pipe bombs that he constructed and mailed to multiple

victims, including a former U.S. President, current U.S. Senators, a current U.S. Congresswoman,

and other former government officials. His large-scale attack triggered massive law enforcement

response and crippled parts of several major metropolitan areas as well as several government

facilities. The defendant acted—16 separate times—with violent intent, including the intent to

harm, threaten, and silence innocent civilians. In doing so, the defendant terrorized the public and

placed thousands of individuals in harm’s way.

       A.      The Defendant Planned and Executed a Terrorist Attack with the Intent to
               Harm Others

       The defendant contemplated violence for years, planned his attack over the course of

several months, and mailed 16 IEDs to 13 Victims around the country—while enjoying media

coverage of the mass panic and fear he created.

       In April 2016, the defendant called for the then-U.S. President to be decapitated. (See Ex.

B at 3). Continuing until his arrest, in private messages and public social media posts alike, the

defendant incited and planned violence against numerous people, including the Victims and other

public officials. Of his targets he wrote the following: Their “days are numbered,” their “head

need be chopped off,” “death to him,” “dead man walking,” “You will die soon contract written,”

“Death to Hilary,” “Death Death Death to all Clintons,” “He must die,” “kill him,” “kill him,” “kill


                                                  27
        Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 31 of 46



him.” (See id.). By December 2017, the defendant was researching the Victims and their

addresses. (See id. at 4-5). In 2018, he sent threatening messages to O’Rourke and CNN. By

March 2018, he was conducting searches and watched a YouTube video relating to the

construction of “letter bomb[s].” (Id. at 4). Beginning in July 2018, the defendant started to

compile the Victims’ addresses into mailing labels on his laptop.

       The defendant’s construction of each of the 16 IEDs required careful planning, assembly,

and the intent to harm others. He has admitted as much. The defendant purchased PVC pipe,

clocks, fireworks, wire, mailing labels, envelopes, and stamps. He found the addresses and

downloaded photographs of each of the Victims and their family members. Sixteen different

times, the defendant drew “Xs” over a Victim’s face, printed mailing labels, placed an IED in an

envelope, drove to a USPS mailbox, and mailed a pipe bomb that he intended to cause injury,

property damage, and fear. (See 03/21/2019 Plea Tr. at 17; PSR ¶ 76). Surveillance video captured

the defendant’s mailings at least twice:




                                               28
         Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 32 of 46




The videos help illustrate the defendant’s careful execution of the attack, as he sought to mail the

IEDs early in the morning when witnesses were less likely to observe him.

       For each of the 16 IEDs, the defendant used tape and/or putty to seal the PVC pipes, which

increased the chances that the expansion of gas resulting from the ignition of his explosives would

cause parts of the pipe to be launched outward towards members of the public:




If it were true, as the defendant suggested in one of his letters, that he intended these IEDs as a

“hoax,” there was no reason for him to fill the pipes with an explosive and seal them in this fashion.




                                                 29
         Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 33 of 46



        The defendant admitted at his guilty plea that he also put “pool shock,” i.e., chlorine, in the

IEDs. His purpose in that decision is clear: The defendant intended that, even absent a detonation,

his IEDs would harm people—not property—by exposing the Victims, USPS workers, law

enforcement, and anyone else who came into contact with his devices to burns from toxic

chemicals. But it is also clear that the defendant very much hoped his IEDs would explode and

harm people in the process. His decision to pack glass shards in with the explosives demonstrates

his violent intent:




The significance of the shards cannot be understated as an indicator of the defendant’s intent.

There is no reason to pack fragmentation into an explosive device other than to maximize the

likelihood that the bomb will cause injury. Each of the 16 times the defendant did so, he hoped

that an explosion would cause the glass to lodge into the flesh of a human being.

        The addressees on the defendant’s IED mailings were not his only victims. The defendant

endangered the 13 Victims’ families, friends, and colleagues, and thousands of others. The

defendant tried to mail an explosive to a nursing home simply because Biden had once visited it.

The U.S. Postal Inspection Service (“USPIS”) estimates that the defendant placed numerous postal

facilities, which employ hundreds of employees, six commercial properties, three private



                                                  30
        Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 34 of 46



residences, five congressional offices—and each of the individuals within these residences,

facilities, or properties—at risk of harm should even one of the defendant’s 16 IEDs have

detonated.

       The culpability of the defendant’s actions, and his intent, increased exponentially as he saw

firsthand the terror and panic that his IEDs caused during his extended attack. On October 23,

2018, he sent a text message to 18 people with a link to The New York Times coverage of the Soros

IED. (Ex. B at 2). On October 24, 2018, the defendant proudly watched television coverage of

his ongoing attack, with a visible smile that speaks volumes about his pre-arrest mindset:




                                                31
         Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 35 of 46



(See Ex. A at 1-4). He then proceeded to mail approximately three additional bombs. On October

25, 2018, in the midst of widespread coverage of his IEDs, he sought to prolong the attack with a

thirteenth victim by searching for “tom steyers mailing address” and then mailing Steyer IED-1

and Steyer IED-2. (See Ex. B at 5).

       In sum, the defendant’s 16 IEDs, considered individually, warrant substantial punishment

because of the intent to injure associated with each mailing and the risk of harm to countless people

that each device posed. When the defendant’s 16 IEDs are evaluated together, as part of a two-

week terrorist attack preceded by a prior bomb-threats conviction in which the defendant invoked

the September 11, 2001 attacks, years of premeditation, and months of planning, his course of

conduct reflects escalating criminal intent that warrants a life sentence.

       B.      The Defendant’s Attack Crippled Parts of Several Cities and Required a
               Massive Response

       The magnitude of the law enforcement response to the defendant’s IEDs—an effort that

was truly national in reach and necessary to protect the public from additional acts of terrorism by

the defendant—demonstrates the exceptionally serious nature of the defendant’s conduct, the harm

that it caused, and the need for general deterrence.

       Law enforcement recovered and rendered safe the defendant’s IEDs on an almost daily

basis over a 10-day period from October 22 to November 1, 2018, including three devices

recovered as many as four days after he was arrested on October 26. Beginning on October 22,

law enforcement around the country worked tirelessly to protect the public by responding to

frequently emerging bomb scenes, finding and recovering additional IEDs within the USPS mail

stream, working to identify and apprehend the defendant, investigating over a thousand reports



                                                 32
         Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 36 of 46



and leads from the community, and notifying Victims and potential victims targeted by the

defendant.

       In Manhattan, from October 24 forward, for approximately eight days, the New York Joint

Terrorism Task Force (“JTTF-NY”), including agents, officers, analysts, attorneys, from the FBI,

the New York City Police Department (“NYPD”), USPIS, the Bureau of Alcohol, Tobacco,

Firearms, and Explosives (“ATF”), the Department of Homeland Security’s Homeland Security

Investigations, and approximately 50 JTTF-NY partner agencies, assembled in a command center

that operated around the clock to coordinate the nationwide investigation. At certain points, up to

approximately 90 law enforcement personnel staffed the JTTF-NY’s command center. The FBI

also operated a supplemental command center in Miami, Florida, for several days.

       Beginning on October 22, the USPS alerted each of its approximately 35,000 facilities and

500,000 employees to the defendant’s ongoing attack, and urged vigilance in efforts to identify

suspect mailings. In the early stages of the investigation, the number of IEDs and the number of

perpetrators was unknown. As a result, USPS locations across the country heightened their

screening to locate possible devices, affecting USPS operations around the country. The USPIS

devoted more than 20% of its personnel to locating, tracking, and recovering the IEDs, and to

ensuring that no other IEDs were in the mail stream, including approximately 531 Postal

Inspectors, Postal Police Officers, analysts, support staff, and contractors.

       Individual responses to some of the defendant’s IEDs demonstrate the fear that the

defendant caused and the magnitude of the response each of the 16 bombs triggered. When the

Soros IED was discovered on October 22, 2018, dozens of law enforcement officers responded

from numerous law enforcement agencies, including JTTF-NY, the FBI’s Evidence Response


                                                 33
        Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 37 of 46



Team, the FBI’s Weapons of Mass Destruction squad, the USPIS, the ATF, the Westchester

County Police Department, the Westchester County Bomb Squad, the Bedford Police Department,

the Katonah Fire Department, and the NYPD. Employees were evacuated from the Soros

residence, safety sweeps were conducted across the property, and the IED was secured. When the

Brennan IED was discovered, the Time Warner Center was evacuated, the Columbus Circle

subway station was temporarily closed, and public facilities—including at least two schools in the

Columbus Circle area—were ordered to shelter in place. The USPS evacuated entire facilities

upon the discovery of Waters IED-2, the Booker IED, and Steyer IED-1.

       The defendant’s attack caused significant disruptions in several major metropolitan areas,

in addition to widespread fear and panic, which illustrate the seriousness of his conduct and the

importance of deterring such behavior in the future through the imposition of a term of life

imprisonment.

II.    A Sentence of Life Imprisonment Is Sufficient but Not Greater than Necessary to
       Protect the Public from Further Terrorism Crimes of the Defendant Given the
       Defendant’s Absence of Remorse, Lack of Candor with the Court, and Failure to
       Fully Accept Responsibility for His Crimes

       The defendant’s criminal history, his lack of remorse, and his failure to fully accept

responsibility demonstrate that the defendant poses an ongoing risk of danger to the community.

A life sentence is thus necessary here in order to protect the public from further crimes of the

defendant. See 18 U.S.C. § 3553(a)(2)(C).

       A.       The Defendant’s Lengthy Criminal History Gives Rise to a Significant Risk
                of Recidivism

       The defendant’s criminal history dates back to 1991 and includes nine prior convictions.

His prior convictions include crimes of dishonesty and fraud, such as theft and possession of false


                                                34
        Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 38 of 46



and altered identity documents. (PSR ¶¶ 220-28). He has received several lenient, probationary

sentences, but violated terms of probation imposed in 2015. (Id. at 51).

       The defendant’s most pertinent prior conviction arose from bomb threats that he conveyed

in August 2002. Just over a month before the one-year anniversary of the September 11 terrorist

attacks, the defendant threatened to “blow up” a Florida utility company in an attack that “would

be worse than September 11th.” (Id. ¶ 222). He received a sentence of probation for that offense,

which was plainly insufficient to deter him from making violent threats and engaging in acts of

violence and terrorism.

       B.      The Defendant Has Not Fully Accepted Responsibility or Demonstrated
               Remorse for His Crimes

       The defendant elected to enter a guilty plea based on an extremely narrow factual allocution

and illogical positions regarding his culpability. Indeed, after hearing the defendant’s allocution

and reading his post-plea letters to the Court, the Government offered its consent to permit the

defendant to withdraw his guilty plea and proceed to trial. He declined. Nevertheless, while the

defendant’s plea allocution and post-plea statements are legally sufficient, they are also factually

dubious—to say the least—and reflect the defendant’s failure to fully accept responsibility and

demonstrate meaningful remorse.

       The defendant’s intention to plead guilty based on a strained factual allocution was

immediately apparent during the change-of-plea proceeding. The Plea Agreement required pleas

to 16 counts involving “weapons of mass destruction.” See 18 U.S.C. § 2332a. The statutory term

“weapon of mass destruction” includes “any destructive device as defined in” 18 U.S.C. § 921. Id.

§ 2332a(c)(2)(A). A “destructive device,” in turn, must be capable of exploding and intended to



                                                35
        Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 39 of 46



be used as a weapon. See United States v. Sheehan, 838 F.3d 109, 119-20 (2d Cir. 2016). The

Court addressed this definition specifically at the defendant’s guilty plea, and defense counsel

argued that “[w]hether or not that item was actually a destructive device, is not an element” of

Counts One through Sixteen. (03/21/2019 Plea Tr. at 19-20).

       Neither the Court nor the Government was comfortable, based on the facts of this case, that

the defendant could “threaten” to use a destructive device without having actually used one. He

did not mail, or email, or post on Facebook, threats to send the Victims IEDs. He mailed them

IEDs. His mailings did not include a note indicating that subsequent packages would contain

better-constructed bombs. Rather, he succeeded in assembling crude destructive devices; his

mailings included explosives, toxic chemicals, and shards of glass packed into PVC pipe.

Consistent with these factual problems, the Court specifically inquired of the defendant at his

guilty plea, and he confirmed under oath that he was “aware of the risk that [his IEDs] would

explode.” (Id. at 20).

       Next, when the Government pointed out that Counts 17 through 32 require intent to injure

persons or property, defense counsel suggested that the defendant’s plea was based on the latter.

(Id. at 21). The defendant, however, stated under oath that he understood there were risks of injury

to property and people. (Id. at 22).

       Nevertheless, after the defendant’s guilty plea, he sought to recant some of his sworn

admissions in two letters submitted to the Court. At a conference on April 15, 2019, defense

counsel once again argued that intent to damage property was sufficient. (04/15/2019 Tr. at 5).

The Court reiterated its doubt that someone could, “under the facts of this case,” intend to damage

property but not harm people. (Id. at 5-6). In response to questioning from the Court, the defendant


                                                36
         Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 40 of 46



indicated at first that he intended to damage “[j]ust the property.” (Id. at 7). But he ultimately

agreed that he understood that “if those exploded or caught fire or in any other way detonated, that

it could injure either property or person.” (Id. at 8). And of course that is true. Any suggestion to

the contrary is frivolous.

       At the April 15 conference, the Court noted that it had received a third letter from the

defendant, which was docketed on April 23, 2019. (Dkt. No. 26). The letter contained a lengthy

proffer of unpersuasive excuses for the defendant’s terrorist attack, couched in the terminology of

armed conflict that provides additional evidence of his own violent intent. For example, he argued

that politics are “very dangerous,” referred to “political war,” and blamed “leftist encouragement”

for “promoting violence”—a thinly veiled attempt to blame his Victims for his crimes. (Id. at 19,

26). Thus, the defendant’s post-plea behavior reflects a lack of acceptance of responsibility and

remorse, and demonstrates the importance of specific deterrence at this sentencing.

       C.      The Defendant’s Expert Report Does Not Mitigate His Conduct

       The defendant retained Dale Mann, a consultant and scientist, to examine the FBI

Explosives Report and the notes underlying the FBI’s examination of the IEDs, among other

things. Notwithstanding the defendant’s guilty plea to 16 counts of using weapons of mass

destruction, he asked Mann to evaluate based on the FBI Explosives Report whether the IEDs

constituted “weapons of mass destruction” under the “destructive device” prong of the statutory

definition. (See Dkt. No. 36 at 3). Moreover, notwithstanding the defendant’s guilty plea to 16

counts of interstate transportation of explosives, and one count of using explosives in connection

with 64 other felonies, Mann also evaluated whether the defendant packed actual explosives into

his IEDs. (See id. at 6). p


                                                 37
        Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 41 of 46



       Mann’s conclusion that the IEDs would not function as assembled is consistent with the

FBI’s analysis. (See id. at 9-10). His conclusion, however, is not dispositive of whether the IEDs

constituted “destructive devices” under Section 921. Rather, the pertinent questions are whether

the IEDs were capable of exploding, even if not as designed, and were intended to be used as

weapons. See Sheehan, 838 F.3d at 119-20; see also 18 U.S.C. § 921(a)(4). In Sheehan, the

Second Circuit held:

               In light of the objective features of the device—which was built to look like
               an IED, contained an explosive, and was capable of detonating—the jury
               could rationally find that the device was objectively designed as a weapon
               even if it was missing a component required to enable it to explode in a
               specific way.

838 F.3d at 120; see also United States v. Langan, 263 F.3d 613, 625 (6th Cir. 2001) (“To qualify

under [Section 921], we do not require that the destructive device operate as intended.”); United

States v. Johnson, 152 F.3d 618, 628 (7th Cir. 1998) (“The objective characteristics of these

devices indicated that they were useful only as weapons. Shoddy workmanship cannot make a

device that contains all the ingredients necessary to inflict harm, and to do nothing more, into

something more benign.”).2

       The defendant’s IEDs were capable of exploding if heat or friction ignited his chosen

explosives. (See Dkt. No. 37 at 24). Contrary to Mann’s suggestions, there is no mystery about

the operative ingredient in the explosives and no additional testing was required. The defendant

admitted that he used fireworks, and there were fireworks seized from his van. It is also clear that



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 The Second Circuit in Sheehan also noted that the defendant’s subjective intent was “irrelevant.”
838 F.3d at 120. Here, in contrast, the defendant has admitted that he harbored violent intent as
confirmed by years of evidence.

                                                38
         Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 42 of 46



the defendant intended to use the IEDs as weapons based on his admissions regarding his intent

and his inclusion of glass shards and toxic “pool shock” in the PVC pipes. See United States v.

Hammond, 371 F.3d 776, 780 (11th Cir. 2004) (noting that definition of “destructive device”

included a pipe containing explosive powder since “when the pipe ruptured, fragments of it would

be propelled like shrapnel against the bodies of those in the vicinity”). Therefore, Mann’s report

is not mitigating and does not militate for leniency.

III.    A Life Sentence Will Avoid Creating Unwarranted Sentencing Disparities

        In light of the defendant’s criminal history, the scope of his attack, the harm that it caused,

and the intent with which he acted, a life sentence will not result in unwarranted sentencing

disparities.

        A.     United States v. Tomkins, No. 07 Cr. 227 (N.D. Ill)

        The defendant in United States v. Tomkins, 782 F.3d 338 (7th Cir. 2015), was sentenced to

37 years’ imprisonment after sending threatening letters and two packages containing what

appeared to be pipe bombs to investment firms and managers in efforts to drive up the price of

certain stocks he owned. Id. at 341. Tomkins’s homemade devices consisted of a plastic pipe

containing gunpowder, lead pellets, and an igniter connected to live batteries. Id. Letters in each

package warned that the recipients were alive only because Tomkins had left one wire on each

device unattached. Id. Tomkins was convicted of Mailing Threatening Communications, in

violation of 18 U.S.C. § 876(b), Illegally Possessing Firearms, in violation of 26 U.S.C. § 5861(d),

and Using a Firearm in Connection with a Crime of Violence, in violation of 18 U.S.C.

§ 924(c)(1)(A) & (B)(ii), which carried a 30-year mandatory minimum term of imprisonment. Id.




                                                  39
         Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 43 of 46



       Like Sayoc, Tomkins argued that his devices were “hoaxes,” and that he “did not ever

intend to hurt anybody or damage their property.” United States v. Tomkins, No. 07 Cr. 227, Dkt.

No. 441 (N.D. Ill. 2013). Unlike Sayoc, however, Tomkins did not at sentencing appear to call

into question elements of the crimes of which he was convicted. At sentencing, the Honorable

Robert M. Dow, Jr., United States District Judge for the Northern District of Illinois, properly

concluded that the mailing of just two IEDs (in contrast to the 16 in this case) was “horrific” and

“terrifying”:

                The nature and circumstances of the offense. “Horrific” is the single best
                word that I have seen to describe the Defendant’s crimes. “Terrifying” is
                another good one. . . . As the Government stated, it was a campaign of terror
                with more than a dozen victims taking place over almost [] two years. . . .
                The goal was some bizarre combination of making money on his
                investments and lashing out at the victims as proxies for greed on Wall
                Street and issues the Defendant had with the Government and the financial
                industry.

                As I said before, had he wished only to make a threatening statement or call
                attention to his cause, he might have placed sawdust in the cylinder. It
                would have been the same effect on the recipient without placing at risk
                everyone who ever came into proximity with the package.

                ...

                Even if the Defendant is correct that by not hooking up the last wire . . . it
                wasn’t likely that the device would explode, the risk was there. And when
                the consequences are so severe—death or serious injury—nobody in their
                right mind would ever want to play those odds with the mail clerk or the
                delivery guy or any other innocent victim, much less the recipient, the
                intended targets here.

Tomkins, No. 07 Cr. 227, Dkt. No. 450 at 28-29 (N.D. Ill. 2013). The Court also discussed “[w]hat

would happen if and when the Defendant is released from prison,” questioning whether the

defendant’s “time in prison [would] simply harbor more resentment that he would act out by



                                                 40
         Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 44 of 46



making new pipe bombs or would he work to improve himself, come to terms with what he did.”

Id. at 32. The Court found that there were “legitimate questions” about the continued danger the

defendant posed to the public. Id. at 33.

       B.         The Anthrax Cases

       In the early 2000s, the country experienced an “anthrax scare,” as aspiring terrorists mailed

white powder resembling the biological agent anthrax to government officials and government

facilities. Most of these cases involved the mailing of one envelope containing white powder that

was later deemed harmless but that resembled anthrax. The defendant’s attack was far more

serious in significant ways: Whereas the defendant mailed destructive devices containing actual

explosives and shards of glass, the anthrax mailings were true hoaxes. And each anthrax case

typically involved one mailing, not 16.

       For example, the defendant in United States v. Guevara, 408 F.3d 252 (5th Cir. 2005),

wrote and mailed a letter to a United States District Judge containing a white, powdery substance

and a death threat. Id. at 255. The federal building, including the District Court, was closed for

the rest of the day, and local and federal law enforcement responded to the scene. Id. The powder

turned out to be harmless. Id. For this single mailing, Guevara was convicted of threatening to

use a weapon of mass destruction, in violation of Section 2332a, and mailing a threatening

communication by way of the USPS, in violation of Section 876. Id. The defendant was sentenced

to life imprisonment. Id.; see also id. at 263 (discussing the defendant’s criminal history and

offense level).

       The defendant in United States v. Davila, 461 F.3d 298 (2nd Cir. 2006), sent an envelope

from prison to the State’s Attorney’s Office in Bridgeport, Connecticut. Id. at 298-99. Davila was


                                                41
         Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 45 of 46



charged with threatening the use of a weapon of mass destruction, in violation of Section 2332a,

and delivering a threat to injure through the USPS, in violation of Section 876(c). Id. at 299. For

his one envelope, the defendant was sentenced to 360 months’ imprisonment. Id. at 300.

        Here, the defendant’s conduct was far more egregious than that of Guevara or Davila. The

defendant used and sent 16 weapons of mass destruction—not just one—through the U.S. mail to

victims across the country over the course of weeks. The defendant has admitted that each of the

16 IEDs he constructed and mailed contained explosive material, and each had the capacity to

explode and harm individuals and property. The defendant, moreover, targeted victims based on

their public service and political activities. He intended to scare the Victims, as well as other

Americans, to force them from the public sphere and end their participation in the civic discourse

that is the lifeblood of our democracy and a bedrock of good governance. For these reasons, the

anthrax cases counsel in favor of a life sentence in this case to avoid unwarranted sentencing

disparities.

IV.     A Life Sentence Is Necessary to Afford Adequate Deterrence and to Promote
        Respect for the Law

        A life sentence is also necessary to adequately deter acts of domestic terrorism aimed at

silencing and intimidating government officials and members of the public based on their political

views and activities. The act of mailing an IED to another human being, much less a current or

former public official, is completely incompatible with the functioning of an orderly society

governed by the rule of law. It is vital for our country’s security that people contemplating

violence—especially on the scale perpetrated by the defendant—be deterred by the knowledge that

such conduct will be met with a certain and severe prison sentence. It is equally vital to the nation’s



                                                  42
        Case 1:18-cr-00820-JSR Document 39 Filed 07/22/19 Page 46 of 46



public discourse that officials and citizens alike are permitted to participate in civic discourse

without fear of violent retribution and terrorism. Thus, a life sentence is necessary and warranted

in this case to serve the pressing need for general deterrence of domestic terrorism offenses such

as the defendant’s.

                                        CONCLUSION

       For the foregoing reasons, the Government respectfully submits that the Court should

sentence Sayoc to life in prison—the sentence called for by the Guidelines and recommended by

the Probation Office—as such a sentence is sufficient but not greater than necessary to comply

with the purposes of sentencing pursuant to Section 3553(a).

Dated: New York, New York
       July 22, 2019

                                                 Respectfully submitted,

                                                 GEOFFREY S. BERMAN
                                                 United States Attorney for the
                                                 Southern District of New York

                                         By:                            /s/
                                                 Sam Adelsberg
                                                 Emil J. Bove III
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                                                 212-637-2038

Cc:    Defense Counsel
       (Via ECF)




                                                43
Case 1:18-cr-00820-JSR Document 39-1 Filed 07/22/19 Page 1 of 5




               Exhibit A
Case 1:18-cr-00820-JSR Document 39-1 Filed 07/22/19 Page 2 of 5




                               1
Case 1:18-cr-00820-JSR Document 39-1 Filed 07/22/19 Page 3 of 5




                               2
Case 1:18-cr-00820-JSR Document 39-1 Filed 07/22/19 Page 4 of 5




                               3
Case 1:18-cr-00820-JSR Document 39-1 Filed 07/22/19 Page 5 of 5




                               4
Case 1:18-cr-00820-JSR Document 39-2 Filed 07/22/19 Page 1 of 6




               Exhibit B
           Case 1:18-cr-00820-JSR Document 39-2 Filed 07/22/19 Page 2 of 6



A Sample of the Defendant’s Internet Searches Found on the Defendant’s Laptop.

       Approximate Date of
                                                        Internet Search Terms
     Internet Search by Sayoc
    January 12, 2018             tom steyer political
    January 18, 2018             cory booker
    January 18, 2018             MAXIM [sic] WATERS
    January 19, 2018             eric holder
    February 9, 2018             kamala harris
    March 20, 2018               john brennan
    April 10, 2018               robert de niro
    April 16, 2018               George soros
    May 1, 2018                  list of house democrats
    May 21, 2018                 james clapper
    June 29, 2018                kill maxim waters
    September 18, 2018           cnn building
    September 18, 2018           msnbc building
    September 18, 2018           george soros and family1
    September 18, 2018           hilary Clinton and family
    September 18, 2018           james clapper wife and kids
    October 17, 2018             BARACK OBAMA FAMILY
    October 23, 2018             DEBBIE WASSERMAN SCHULTZ FAMILY
    October 23, 2018             tom steyers mailing address
    October 23, 2018             CORY BOOKER family
    October 23, 2018             KAMALIA [sic] HARRIS family




1
 At the time of the defendant’s arrest, the first result for this search on Google images was the
photograph that Sayoc affixed to the IED he mailed to Soros.
                                                  1
           Case 1:18-cr-00820-JSR Document 39-2 Filed 07/22/19 Page 3 of 6



A Sample of the Defendant’s Text Messages Found on the Defendant’s Cellphone.

    Approximate Date of Text
                                                Text of Message or Series of Messages2
           Message
    September 17- 18 , 2016        Defendant: Hopefully she’ll die
    (one recipient)                Defendant: Lol

    November 13, 2016              Yep Soros at work like he did in Charlotte. Puttin Russia put
                                   wanted dead or alive bounty on Soros head
    November 30, 2017              Tom Steyer
    March 23, 2018                 John o Brennan
    April 12, 2018                 Death to all liberals
                                   https://www.researchgate.net/publication/313314127_Bloodied_
                                   Democracy_Duterte_and_the_Death_of_Liberal_Reformism_in
                                   _the_Philippines
    May 10, 2018                   Camila [sic] Harris kill her
    June 20, 2018                  Chris Coons Senator Delaware kill him
    July 16, 2018                  Anderson Cooper kill him now
    July 17, 2018                  That was Scalise shooting baseball game . It time to start
                                   executing democrats period.
    July 20, 2018                  Jerrold Nadler democrat NY kill him
    July 27, 2018                  Joe Crowley democrat kill him
    August 27, 2018                Viola Davis kill her congress
    October 5, 2018                Bob Mendez kill him
    October 23, 2018 (18           https://www.nytimes.com/2018/10/22/nyregion/george-soros-
    recipients)                    explosive-device.amp.html




2
    Unless otherwise indicated, the text messages were sent by the defendant to himself as notes.
                                                  2
        Case 1:18-cr-00820-JSR Document 39-2 Filed 07/22/19 Page 4 of 6



A Sample of the Defendant’s Social Media Posts Found on His Social Media Accounts.

 Approximate Date of Post /
                                                        Text of Post
   Social Media Platform
 April 1, 2016 (Facebook)      “GEORGE SLIME DAYS ARE NUMBERED SORROS”

 April 5, 2016 (Facebook)     “Obama head need to be chopped off with both dead man
                              walking Obama Muslim terrorist and George Slime Soros death
                              to Obama , George Slime Soros . . .”
 April 8, 2016 (Facebook)      “George dead man walking Soros”

 April 15, 2016 (Facebook)     “Eric scum Holder death to him”

 June 8, 2016 (Facebook)      “Hilary will tear apart the US terrorist will flow through
                              America daily bombs . She has to die period not option”
 June 9, 2016 (Facebook)      “The slime Hilary Clinton must be killed abolished crimes
                              against humanity . Death to Hilary.”
 August 14, 2016 (Facebook)   “The media needs beat down and major reality check enough
                              enough it time to seek destroy CNN insight violence and lying
                              BS”
 April 13, 2017 (Facebook)    “Death Death Death to all Clintons”

 November 29, 2017            “Your days are number Steyer…”
 (Facebook)
 March 9, 2018 (Facebook)     On a photograph of George Soros with a backdrop of a
                              cemetery, Sayoc posted the caption “He must die”
 April 28, 2018 (Facebook)    On a photograph of Sayoc holding up a poster that says, among
                              other things, “CNN Sucks,” Sayoc posted the caption “We want
                              their funded George Soros dead man walking . He will vanish
                              and will see it happen”
 June 13, 2018 (Facebook)     “Die and leave our land never come back . Your movies and stars
                              suck . Di Niro will vanish soon.”
 June 27, 2018 (Twitter)      Sayoc posted a map of Maxine Waters’ congressional district and
                              two pictures of what appear to be Waters’ home with the text
                              “@maximewaters see you soon Maxim.”
 September 5, 2018            “Death to Obama criminal Soros socialist paid puppet”
 (Facebook)




                                             3
        Case 1:18-cr-00820-JSR Document 39-2 Filed 07/22/19 Page 5 of 6



A Sample of the Defendant’s Google Searches.

     Approximate Date                                 Search Terms

 December 23, 2017            Address of nancy pelosi

 December 23, 2017            Address chuck schumer

 December 23, 2017            Address Maxine waters california

 March 9, 2018                George soros killed

 March 9, 2018                Kill George soros

 March 9, 2018                photo soros dead

 March 18, 2018               How do they make letter bomb

 March 18, 2018               What a letter bomb

 April 9, 2018                How to kill all democrats

 April 12, 2018               Killing George soros

 April 12, 2018               How to kill George soros

 April 19, 2018               Maxim waters ties funds George soros

 April 20, 2018               Anderson cooper cnn address

 April 24, 2018               judge in cohen case tied to soros

 April 24, 2018               Kill all socialist

 May 17, 2018                 Maximwater [sic] home address 549 south Lucerne Blvd

 June 15, 2018                Address peter strzok fbi agent

 June 27, 2018                Cory booker home address in new jersey

 June 29, 2018                Kill Maxine waters

 July 15, 2018                Hilary Clinton home address

 July 15, 2018                George soros address home 136 cantitoe st katonah, ny

 September 19, 2018           george soros and family



                                               4
       Case 1:18-cr-00820-JSR Document 39-2 Filed 07/22/19 Page 6 of 6




September 26, 2018        Kill George soros head off

September 26, 2018        Address for senator chuck schumer

September 26, 2018        Address for barack obama

September 26, 2018        Michelle Obama mailing address

October 1, 2018           Jeff flake home address in arizona

October 20, 2018          Beto o’rourke address

October 20, 2018          Alec Baldwin address

October 23, 2018          Address morning joe msnbc new york

October 25, 2018          tom steyers mailing address




                                         5
